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                               UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF ILLINOIS


                            RE: Local Rule 3.2 Notification of Affiliates



ANNUAL REMINDER: Pursuant to Local Rule 3.2 (“Notification of Affiliates”), any nongovernmental
party, other than an individual or sole proprietorship, must file a statement identifying all its affiliates
or, if the party has no affiliates, then a statement reflecting that fact must be filed. An affiliate is
defined as follows: any entity or individual owning 5% or more of a party. Any entity or individual
who owns 5% or more of any such affiliate shall also be included within the definition of “affiliate.”
The statement is to be electronically filed as a PDF in conjunction with entering the affiliates in
CM/ECF as prompted. As a reminder to counsel, parties must supplement their statements of
affiliates within thirty (30) days of any change in the information previously reported. This minute
order is being issued to all counsel of record to remind counsel of their obligation to provide updated
information as to additional affiliates if such updating is necessary. If counsel has any questions
regarding this process, this LINK will provide additional information.


                                                 ENTER:

                                           FOR THE COURT




   Dated at Chicago, Illinois this 29th day of December 2022
